AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


                                    UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                                                       (For Revocation of Probation or Supervised Release)
         V.                                                            (For Offenses Committed On or After November 1, 1987)


KEYLIN LAMAR COLEMAN                                                   Case Num ber: 1:97CR310-5
                                                                       USM Num ber: 14546-058

                                                                       W alter E. Daniels III
                                                                       Defendant’s Attorney


THE DEFENDANT:

X        adm itted guilt to violation of condition(s) 1,2,3 of the term of supervision.
X        was found in violation of condition(s) count(s) 1,2,3.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                                Date Violation
 Violation Num ber               Nature of Violation                                            Concluded

 1                               Fail to report as directed                                     3/2/07

 2                               Fail to m ake/subm it m onthly supervision reports             3/5/07

 3                               Fail to m ake required court paym ents                         3/5/07



       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X        The Defendant is discharged as to violation(s) 4 upon m otion of the U. S. Attorney.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                       Date of Im position of Sentence: 6/5/07




                                                                          Signed: June 7, 2007




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Defendant: KEYLIN LAMAR COLEMAN                                                                       Judgm ent-Page 2 of 2
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                                                           IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of 5 Months.

ANY OUTSTANDING MONETARY PENALTIES RESULTING FROM THE ORIGINAL JUDGMENT ARE REMITTED.

         The Court m akes the following recom m endations to the Bureau of Prisons:

 X       The Defendant is rem anded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                           As notified by the United States Marshal.

                            At___a.m . / p.m . on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                           As notified by the United States Marshal.

                            Before 2 p.m . on ___.

                           As notified by the Probation Office.

                                                               RETURN

         I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                       ___________________________________________
                                                       United States Marshal


                                              By:      _______________________________________
                                                       Deputy Marshal




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